Case 08-14631-GMB            Doc 222-1 Filed 04/26/08 Entered 04/26/08 14:10:00                            Desc
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                                                EXHIBIT A

                  LEASES BETWEEN SHAPES AND DE LAGE LANDEN


      Schedule No.      Date of Lease                  Equipment                       Buyout Terms1
           9              01/04/05               1 Hyster Model H60XM                      FMV
                                                 Forklift with accessories
          10                07/20/05             1 Hyster Model H60XM                         FMV
                                                          Forklift
          11                09/07/05              1 Hubtex Side Loader                        $1.00

          12                09/20/05            1 Hyster Model H110XM                         FMV
                                                          Forklift
          13                09/19/05            1 Hyster Model H110XM                         FMV
                                                   Forklift with Rotator
          14                09/19/05             2 Hyster Model H60XM                         FMV
                                                         Forklifts
          15                12/06/05             2 Hyster Model H60FT                         FMV
                                                         Forklifts
          16                12/06/05            3 Hyster Model H155XL2                        FMV
                                                         Forklifts
          17                12/06/05             1 Hyster Model H60FT                         FMV
                                                         Forklifts
          19                01/12/06             3 Drexel Model SLT30                         $1.00
                                                         Forklifts
          20                02/08/06             1 Hyster Model H60FT                         FMV
                                                         Forklifts
          21                02/17/06              1 New Holland Model                         $1.00
                                                     LW110 Loader
          22                03/01/06             2 Drexel Model SLT30                         $1.00
                                                         Forklifts
          23                02/28/06             4 Drexel Model SLT30                         $1.00
                                                         Forklifts
          25                07/12/06             1 Hyster Model H60FT                         FMV
                                                         Forklifts
          25                03/01/07            1 Nissan Model PL 60LP                        FMV
                                                          Forklift




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   FMV means that Le Lage Lande retains the title to the equipment and that if there is no default, Shapes
  may purchase the equipment at the end of the term of the lease for its fair market value. $1.00 means that
  Shapes holds the title to the equipment and if there is no default, it may purchase any remaining interest
  held by De Lage Landen for $1.00 at the end of the term of the lease.
